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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA
       v.
                                                           1:19-mj-06087-MPK-7
GORDON CAPLAN


             DEFENDANT GORDON CAPLAN’S MOTION TO CONTINUE

       Defendant Gordon Caplan respectfully requests that the Court continue the date for his

initial appearance until either April 3, 2019 or April 5, 2019. As grounds for his Motion, Mr.

Caplan states that his counsel, Michael G. McGovern, will be traveling out of state on March 29,

2019, which is the current date set for Mr. Caplan’s initial appearance. Counsel for the

defendant propose either April 3, 2019 or April 5, 2019, when all could be present.

       Counsel for the government has informed defense counsel that the government takes no

position on this Motion.
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Dated: March 21, 2019

                                   Respectfully submitted,


                                   By: /s/ Joshua S. Levy
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                                      Attorneys for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

on March 21, 2019.



                                                             By: /s/ Joshua S. Levy    _




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